                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                              |
IN RE:                                        |     CHAPTER 13
JUANA ORTIZ                                   |
a/k/a Juana B. Ortiz                          |
a/k/a Juana B. Castillo De Ortiz              |
                                              |     CASE NO. 5-22-
                                              |
                                              | X ORIGINAL PLAN
                                              |     AMENDED PLAN (Indicate 1ST, 2ND , 3RD ,
                                              |     etc)
                                              | ___ Number of Motions to Avoid Liens
                                              | ___ Number of Motions to Value Collateral

                                      CHAPTER 13 PLAN

                                             NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the following
items. If an item is checked as “Not Included” or if both boxes are checked or if neither box is
checked, the provision will be ineffective if set out later in the Plan.


 1   The plan contains nonstandard provisions, set out in §9, *       Included   G       Not
     which are not included in the standard plan as approved                             Included
     by the U.S. Bankruptcy Court for the Middle District of
     Pennsylvania.
 2   The plan contains a limit on the amount of a secured          Included       *      Not
     claim, set out in §2.E, which may result in a partial                               Included
     payment or no payment at all to the secured creditor.
 3   The plan avoids a judicial lien or nonpossessory,        G       Included   *       Not
     nonpurchase-money security interest, set out in §2.G                                Included

                             YOUR RIGHTS WILL BE AFFECTED
READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a timely
written objection. This plan may be confirmed and become binding on you without further notice or
hearing unless a written objection is filed before the deadline stated on the Notice issued in connection
with the filing of the Plan.

1.     PLAN FUNDING AND LENGTH OF PLAN.




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       A.       Plan Payments From Future Income

               1. To date, the Debtor paid $0.00 (enter $0 if no payments have been made to the
Trustee to date). Debtor shall pay to the Trustee for the remaining term of the plan the following
payments. If applicable, in addition to monthly plan payments, Debtor shall make conduit payments
through the Trustee as set forth below. The total base plan is $33,600.00 plus other payments and
property stated in §1B below:


    Start            End              Plan            Estimated         Total             Total
   mm/yyyy          mm/yyyy          Payment           Conduit         Monthly          Payment
                                                      Payment          Payment          Over Plan
                                                                                          Tier
 02/2022          01/2027          $560.00          $0.00            $560.00          $33,600.00
                                                                            Total $33,600.00
                                                                        Payments:

        2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the Trustee
that a different payment is due, the Trustee shall notify te Debtor and any attorney for the Debtor, in
writing, to adjust the conduit payments and the plan funding. Debtor must pay all post-petition
mortgage payments that come due before the initiation of conduit mortgage payments.

        3. Debtor shall ensure that any wage attachments are adjusted when necessary to conform to
the terms of the plan.

       4. CHECK ONE:           (x ) Debtor is at or under median income. If this line is checked,
                               the rest of §1.A.4 need not be completed or reproduced.

                               ( ) Debtor is over median income. Debtor estimates that a minimum
                               of $ _______ must be paid to allowed unsecured creditors in order to
                               comply with the Means Test.

B. Additional Plan Funding From Liquidation of Assets/Other

       1.       The Debtor estimates that the liquidation value of this estate is $0.00. (Liquidation value
                is calculated as the value of all non-exempt assets after the deduction of valid liens and
                encumbrances and before the deduction of Trustee fees and priority claims.)

       Check one of the following two lines.

            X   No assets will be liquidated. If this line is checked, the rest of §1.B need not be
                completed or reproduced.




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     ____   Certain assets will be liquidated as follows:

     2.     In addition to the above specified plan payments, Debtor shall dedicate to the plan
            proceeds in the estimated amount of $______________ from the sale of property
            known and designated as ____________________________. All sales shall be
            completed by _____________, 20____. If the property does not sell by the date
            specified, then the disposition of the property shall be as follows:
            ______________________.

     3.     Other payments from any source(s) (describe specifically) shall be paid to the Trustee
            as follows: _______________________________________________.

            Upon Debtor securing employment, the Debtor shall provide a copy of paystub to
            Counsel and amend Schedules I/J, if necessary.

2.   SECURED CLAIMS.

     A.     Pre-Confirmation Distributions. Check one.

      X     None. If “None” is checked, the rest of §2.A need not be completed or
            reproduced.

     ____   Adequate protection and conduit payments in the following amounts will be paid by the
            Debtor to the Trustee. The Trustee will disburse these payments for which a proof of
            claim has been filed as soon as practicable after receipt of said payments from the
            Debtor.


     Name of Creditor          Last Four Digits of Account      Estimated Monthly Payment
                                        Number



     1.     The Trustee will not make a partial payment. If the Debtor makes a partial plan
            payment, or if it is not paid on time and the Trustee is unable to pay timely a payment
            due on a claim in this section, the Debtor’s cure of this default must include any
            applicable late charges.

     2.     If a mortgagee files a notice pursuant to Fed. R. Bankr.P.3002.1(b), the change in the
            conduit payment to the Trustee will not require modification of this Plan.

     B.     Mortgages (Including Claims Secured by Debtor’s Principal Residence) and
            Other Direct Payments by Debtor. Check One.



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            None. If “None” is checked, the rest of §2.B need not be completed or reproduced.

       X    Payments will be made by the Debtor directly to the creditor according to the original
            contract terms, and without modification of those terms unless otherwise agreed to by
            the contracting parties. All liens survive the plan if not avoided or paid in full under the
            plan.



     Name of Creditor            Description of Collateral       Last Four Digits of Account
                                                                          Number
Community Loan Servicing,      604 Landmesser .,                 8554
LLC                            Hazleton, PA 18201
Fay Servicing                  620 Putnam St.,
                               West Hazleton, PA 18202

     C.     Arrears (Including, but not limited to, claims secured by Debtor’s principal
            residence). Check one.

            None. If “None” is checked, the rest of §2.C need not be completed or reproduced.

     _ x _ The Trustee shall distribute to each creditor set forth below the amount of arrearages in
           the allowed claim. If post-petition arrears are not itemized in an allowed claim, they
           shall be paid in the amount stated below. Unless otherwise ordered, if relief from the
           automatic stay is granted as to any collateral listed in this section, all payments to the
           creditor as to that collateral shall cease, and the claim will no longer be provided for
           under §1322(b)(5) of the Bankruptcy Code.


Name of           Description of      Estimated Pre- Estimated Post- Estimated Total
Creditor          Collateral          Petition Arrears Petition Arrears to be paid in
                                      to be Cured      to be Cured      plan
Community Loan 604 Landmesser         $7,155.21           None                 $7,155.21
Servicing, LLC St.,
               Hazleton, PA
               18201
Fay Servicing     620 Putnam St.,     $17,500.00          None                 $17,500.00
                  West Hazleton,
                  PA 18202


     D. Other secured claims (conduit payments and claims for which a §506 valuation is



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not applicable, etc.)

                None. If “None” is checked, the rest of §2.D need not be completed or reproduced.


         X      The claims below are secured claims for which a § 506 valuation is not applicable, and
                can include: (1) claims that were either (a) incurred within 910 days of the petition date
                and secured by a purchase money security interest in a motor vehicle acquired for the
                personal use of the Debtor, or (b) incurred within 1 year of the petition date and
                secured by a purchase money security interest in any other thing of value; (2) conduit
                payments; or (3) secured claims not provided elsewhere.

       1.       The allowed secured claims listed below shall be paid in full and their liens retained until
                the earlier of the payment of the underlying debt determined under nonbankruptcy law
                or discharge under §1328 of the Code.

       2.       In addition to payment of the allowed secured claim, present value interest pursuant to
                11 U.S.C. §1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below,
                unless an objection is raised. If an objection is raised, then the court will determine the
                present value interest rate and amount at the confirmation hearing.

       3.       Unless otherwise ordered, if the claimant notifies the Trustee that the claim was paid,
                payments on the claim shall cease.


     Name of            Description of       Principal          Interest Rate      Total to be Paid
     Creditor            Collateral          Balance of                                in Plan
                                               Claim
 Greater Hazleton 620 Putnam St.,         $615.00             N/A                  $615.00
 Joint Sewer Auth. West Hazleton,
                   PA 18202
 Greater Hazleton 604 Landmesser          $581.00             N/A                  $581.00
 Joint Sewer Auth Ave.,
                  Hazleton, PA
                  18201
 Hazleton City        620 Putnam St.,     $452.70             N/A                  $452.70
 Auth.                West Hazleton,
                      PA 18202




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Hazleton City       604 Landmesser      $150.00              N/A               $150.00
Auth.               Ave.,
                    Hazleton, PA
                    18201
Municipal Auth.     620 Putnam St.,     $158.00              N/A               $158.00
of Hazle            West Hazleton,
Township            PA 18202
Municipal Auth.     604 Landmesser      $164.00              N/A               $164.00
of Hazle            Ave.,
Township            Hazleton, PA
                    18201

     E.        Secured claims for which §506 valuation is applicable. Check one.

           X    None. If “None” is checked, the rest of §2.E need not be completed or
               reproduced.


               Claims listed in the subsection are debts secured by property not described in §2.D of
               this plan. These claims will be paid in the plan according to modified terms, and liens
               retained until the earlier of the payment of the underlying debt determined under
               nonbankruptcy law or discharge under §1328 of the Code. The excess of the
               creditor’s claim will be treated as an unsecured claim. Any claim listed as “$0.00" or
               “NO VALUE” in the “Modified Principal Balance” column below will be treated as an
               unsecured claim. The liens will be avoided or limited through the plan or Debtor will file
               an adversary action or other action (select method in last column). To the extent not
               already determined, the amount, extent or validity of the allowed secured claim for each
               claim listed below will be determined by the court at the confirmation hearing. Unless
               otherwise ordered, if the claimant notifies the Trustee tat the claim was paid, payments
               on the claim shall cease.



Name of          Description     Value of         Interest         Total          Plan,
Creditor         of Collateral   Collateral       Rate             Payment        Adversary
                                 (Modified                                        or Other
                                 Principal)                                       Action




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      F. Surrender of Collateral. Check one.

          X   None. If “None” is checked, the rest of §2.F need not be completed or reproduced.

              The Debtor elects to surrender to each creditor listed below the collateral that secures
              the creditor’s claim. The Debtor requests that upon confirmation of this plan or upon
              approval of any modified plan the stay under 11 U.S.C. §362(a) be terminated as to
              the collateral only and that the stay under §1301 be terminated in all respects. Any
              allowed unsecured claim resulting from the disposition of the collateral will be treated in
              Part 4 below.


              Name of Creditor                   Description of Collateral to be Surrendered




      G.      Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax liens.
              Check one.

          X   None. If “None” is checked, the rest of §2.G need not be completed or reproduced.

      _       The Debtor moves to avoid the following judicial and/or nonpossessory, non-purchase
              money liens of the following creditors pursuant to §522(f) (this §should not be used for
              statutory or consensual liens such as mortgages).


Name of Lien Holder
Lien Description
For judicial lien, include court
and docket number
Description of the liened
property
Liened Asset Value
Sum of Senior Liens
Exemption Claimed
Amount of Lien
Amount Avoided




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3.   PRIORITY CLAIMS.

     A.    Administrative Claims

           1.     Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate
                  fixed by the United States Trustee.

           2.     Attorney’s Fees. Complete only one of the following options:

                  a.       In addition to the retainer of $1,000.00 already paid by the Debtor, the
                           amount of $3,500.00 in the plan. This represents the unpaid balance of
                           the presumptively reasonable fee specified in L.B.R. 2016-2( c); or


                  b.       $_______ per hour, with the hourly rate to be adjusted in accordance
                           with the terms of the written fee agreement between the Debtor and the
                           attorney. Payment of such lodestar compensation shall require a
                           separate fee application with the compensation approved by the Court
                           pursuant to L.B.R. 2016-2(b).

           3.     Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2 above.
                  Check one of the following two lines.

                       X   None. If “None” is checked, the rest of § 3.A.3 need not be
                           completed or reproduced.

                  ____     The following administrative claims will be paid in full.


           Name of Creditor                             Estimated Total Payment




     B.    Priority Claims (including, certain Domestic Support Obligations)

           Allowed unsecured claims entitled to priority under § 1322(a) will be paid in full unless
           modified under §9.


           Name of Creditor                             Estimated Total Payment




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       C.       Domestic Support Obligations assigned to or owed to a governmental unit
                under 11 U.S.C. § (a)(1)(B). Check one of the following two lines.

                 X     None. If “None” is checked, the rest of § 3.C need not be completed or
                       reproduced.

                _      The allowed priority claims listed below are based on a domestic support
                       obligation that has been assigned to or is owed to a governmental unit and will
                       be paid less than the full amount of the claim. This plan provision requires that
                       payments in § 1.A. be for a term of 60 months (see 11 U.S.C. § 1322 (a)(4)).


                Name of Creditor                             Estimated Total Payment




4.     UNSECURED CLAIMS

       A.       Claims of Unsecured Nonpriority Creditors Specially Classified. Check one of
                the following two lines.

                _ X _ None. If “None” is checked, the rest of § 4.A need not be completed or
                      reproduced.

                ____   To the extent that funds are available, the allowed amount of the following
                       unsecured claims, such as co-signed unsecured debts, will be paid before other,
                       unclassified, unsecured claims. The claim shall be paid interest at the rate stated
                       below. If no rate is stated, the interest rate set forth in the proof of claim shall
                       apply.


     Name of            Reason for          Estimated          Interest Rate      Estimated Total
     Creditor             Special           Amount of                                 Payment
                       Classification        Claim



       B.       Remaining allowed unsecured claims will receive a pro-rata distribution of
                funds remaining after payment of other classes.




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5.      EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the
        following two lines.

                None. If “None” is checked, the rest of § 5 need not be completed or reproduced.

           X    The following contracts and leases are assumed (and arrears in the allowed claim to be
                cured in the plan) or rejected:


     Name of     Description      Monthly        Interest     Estimated      Total Plan     Assume or
      Other      of Contract      Payment          Rate        Arrears       Payment         Reject
      Party       or Lease
 Yajaira        604               $565.00       None          None           None           Assume
 Ortiz          Landmesser
                Ave.,




6.      VESTING OF PROPERTY OF THE ESTATE.

        Property of the estate will vest in the Debtor upon

        Check the applicable line:

                plan confirmation.
        ___     entry of discharge.
         X      closing of case.

7.      DISCHARGE: (Check one)

        (X)     The debtor will seek a discharge pursuant to § 1328(a).
        ( )     The debtor is not eligible for a discharge because the debtor has previously received a
                discharge described in § 1328(f).

8.      ORDER OF DISTRIBUTION:

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date, the
Trustee will treat the claim as allowed, subject to an objection by the Debtor.

Payments from the plan will be made by the Trustee in the following order:
Level 1:        Adequate Protection Payments




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 Level 2:          Debtor’s Attorney Fees
Level 3:          Domestic Support Obligations
 Level 4:          Secured Claims, Pro Rata
Level 5:        Priority Claims, pro rata
Level 6:       Specially classified unsecured claims
Level 7:       Timely filed general unsecured claims
Level 8:        Untimely filed general unsecured claims to which Debtor has not objected
If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the above
Levels are not filled-in, then the order of distribution of plan payments will be determined by the Trustee
using the following as a guide:

Level 1:       Adequate protection payments.
Level 2:       Debtor’s attorney’s fees.
Level 3:       Domestic Support Obligations.
Level 4:       Priority claims, pro rata.
Level 5:       Secured claims, pro rata.
Level 6:       Specially classified unsecured claims.
Level 7:       Timely filed general unsecured claims.
Level 8:       Untimely filed general unsecured claims to which the Debtor has not objected.


9. NONSTANDARD PLAN PROVISIONS

Include the additional provisions below or on an attachment. Any nonstandard provision
placed elsewhere in the plan is void. (NOTE: The plan and any attachment must be filed as
one document, not as a plan and exhibit.)

The following is a summary of the creditors and amounts to be paid by the Trustee pursuant to
this Plan:

       Chapter 13 Trustee                            $  3,324.09(est.)
       Tullio DeLuca, Esq.,                          $  3,500.00
       Community Loan Servicing, LLC                 $  7,155.21 (arrears)
       Fay Servicing                                 $ 17,500.00 (arrears)
       Greater Hazleton Joint Sewer Auth             $    615.00 (620 Putnam St.)
       Greater Hazleton Joint Sewer Auth.            $    581.00 (604 Landmesser Ave.)
       Hazleton City Auth.                           $    452.70 (620 Putnam St.)
       Hazleton City Auth.                           $    150.00 (604 Landmesser Ave.)
       Municipal Auth of Hazle Township              $    158.00 (620 Putnam St.)
       Municipal Auth. Of Hazle Township             $    164.00 (604 Landmesser Ave.)
       Total:                                        $ 33,600.00


Dated: January 28, 2022                       /s/Tullio DeLuca




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                                              Attorney for Debtor


                                              /s/Juana Ortiz
                                              Debtor




By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor also
certifies that this plan contains no nonstandard provisions other than those set out in §9.




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